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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

 

NIKE, INC and CONVERSE, INC.,
Plaintiffs, Case No. 13 Civ. 8012
v.

Maria WU et al.

Defendants.

 

 

Declaration of Songliang Zhou
China Merchants Bank

I, Songliang Zhou, declare as follows:

l. I am Deputy General Manager of the Head Office Legal and Compliance
Department at China Merchants Bank (“CMB”), which is a non-party to this proceeding. I am
responsible for ensuring CMB’s compliance with applicable laws in the People’s Republic of
China. I have knowledge of the matters described in this declaration.

De I submit this declaration in support of CMB and the other Nonparty Banks’
objection to Magistrate Judge Freeman’s September 11, 2018 Memorandum and Order on the
Nonparty Banks’ Motion to Quash the Subpoenas and Modify the Final Order and Plaintiff-
Assignee, Next Investments, LLC’s (“Assignee”), Cross-motion to Compel.

3. In my declaration in support of the Nonparty Banks’ Motion to Quash the
Subpoenas and Modify the Final Order, dated February 12, 2018, I explained that CMB could not
disclose documents and information relating to Judgment Debtor accounts located in China in
response to Assignee’s subpoena, or restrain these accounts, because such disclosure or restraint

without authorization by the Chinese government would violate China’s banking laws. China’s
 

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Commercial Bank Law and banking regulations, as codified by the People’s Bank of China and
the China Banking and Insurance Regulatory Commission (known as “China Banking Regulatory
Commission”), require such disclosure or restraint to be directed by a Chinese judicial department
or a competent governmental organ as identified in the applicable laws and regulations.
Additionally, the unauthorized restraint and disclosure of customer account information would
violate the bank’s customer agreements.

4, I submit this declaration to explain that CMB has undertaken certain measures,
nonetheless, to address the problems relating to counterfeiting identified by Assignee in its
subpoena and in its other submissions to this Court. CMB has undertaken these measures in a
manner consistent with Chinese law.

5. CMB has placed risky customer accounts associated with the Judgment Debtors, as
identified in Attachment B to the subpoena issued to CMB, on the “black-list” in the bank’s Anti-
Money Laundering system. As a result of this “black-list” designation, Judgment Debtors will be
prevented from opening new accounts at CMB.

6. CMB is willing to cooperate with Assignee to take additional measures to combat
further acts of counterfeiting by these Judgment Debtors, so long as these measures comply with
Chinese law. Such measures include the production of documents and information relating to the
Judgment Debtors pursuant to an application submitted under the Hague Convention on the Taking
of Evidence Abroad in Civil and Commercial Matters, should the Court permit discovery through

this means.

I hereby declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

 
 

 

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Executed this 9 day of October, 2018, Shenzhen, China.

Songliang Zhou

 

 
